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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 CYNTHIA RUTHRAUFF, individually
 and on behalf of all others similarly
 situated,                             Civil Action No. 1:18-cv-00704

                Plaintiff,

 v.

 LUMINESS DIRECT, LLC,

                 Defendant.



               PLAINTIFF’S RESPONSE IN OPPOSITION TO
            DEFENDANT LUMINESS’ MOTION TO RECONSIDER

         Plaintiff Cynthia Ruthrauff (“Ruthrauff”) hereby responds to and

respectfully asks the Court to deny Defendant Luminess Direct, LLC’s

(“Defendant” or “Luminess”) Motion to Reconsider.

I.       INTRODUCTION

         By filing a Motion to Reconsider—which Defendant recognizes is a non-

routine motion reserved for situations of absolute necessity—Luminess is

attempting precisely what the Court forewarned in its Order: a second bite at the

apple.

         To determine whether a contract was formed that would require Plaintiff to



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arbitrate her claims, the Court considered the evidence presented by the parties and

ultimately determined that Luminess had failed to prove the existence of a contract

by a preponderance of the evidence. Now, dissatisfied with the outcome,

Defendant asks the Court to review the same evidence and rule the other way.

      The Court’s Order should stand. The Court did not err in finding that

Luminess failed to meet its evidentiary burden. The declaratory evidence Luminess

provided was insufficient to prove a contract. Defendant claims that Plaintiff was

notified of additional terms and conditions in the infomercial and on a recorded

phone message, but Luminess failed to present either to the Court so that it could

evaluate the sufficiency of the alleged notice. Instead, Defendant relied on the

submission of a packing list, which made only a fine-print reference to other terms,

did not contain the arbitration clause, and was sent to Plaintiff after the sale was

completed. This was not, and to this day is not, enough to demonstrate assent.

      Likewise, the Court did not err in relying on Bazemore and employing a

“summary judgment-like standard” to the determination of whether an agreement

to arbitrate existed. The question of contract formation is one for the Court to

decide, and on that question the facts were inadequate and undisputed. Because

Luminess did not raise a genuine issue of material fact with the evidence

presented, the Court’s summary denial of the motion to compel arbitration was

proper and appropriate.



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           Accordingly, and as explained below, the Court should deny Defendant’s

Motion for Reconsideration.

II.        ARGUMENT

      A.      The Court Correctly Determined That Luminess Did Not Provide
              Sufficient Evidence to Establish the Existence of a Contract.

           After considering the evidence provided, the Court determined that

Luminess failed to prove the existence of a contract by a preponderance of the

evidence and thus could not compel Plaintiff to arbitrate her claims. This

determination was correct in both substance and form. The Court found that the

totality of the evidence before it was insufficient to satisfy Defendant’s burden.

This finding was well-reasoned, fully explained, and not, as Luminess suggests, an

improper credibility judgment. Likewise, because the evidence indicated no

genuine dispute of material fact, the Court properly employed a “summary

judgment-like” standard as recommended by Bazemore to the question of contract

formation—a preliminary question generally reserved to the Court.

              1. The Court did not dispute or question the credibility of Luminess’
                 declaration—it merely determined that it was insufficient to
                 establish a contract by a preponderance of the evidence.

           In its Order denying Defendant’s motion to dismiss the Complaint or compel

arbitration, the Court examined the sufficiency of evidence presented by Luminess

to suggest that Plaintiff entered into a binding and enforceable contract. The Court

concluded that Luminess did not meet its burden: “Defendant’s evidentiary


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submissions fail to raise a genuine issue of material fact as to whether a binding

contract, of which the arbitration clause was a part, was formed . . .” (Order, p. 20.)

This determination was correct in light of the evidence presented, and the Court

did not, as Luminess contends, ignore or question the credibility of the evidence.

(See Mem. of Law in Supp. of Mot. to Recons. [hereafter “Mot. to Recons.”], at 2,

6–7.) Put simply, Defendant’s evidence may have been credible, but it was not

enough to prove the existence of a contract.

      Arbitration is a matter of contract; without a contractual agreement to

arbitrate, “a court cannot compel the parties to settle their dispute in an arbitral

forum.” Klay v. All Defendants, 389 F.3d 1191, 1200 (11th Cir. 2004). Thus, the

first task of a court asked to compel arbitration is to assess contract formation—“to

determine whether the parties agreed to arbitrate that dispute.” Mitsubishi Motors

Corp. v. Soler Chrysler–Plymouth, Inc., 473 U.S. 614, 626 (1985) (emphasis

added); see also Chastain v. Robinson–Humphrey Co., Inc., 957 F.2d 851, 854

(11th Cir. 1992). Only after “the resolution of any formation challenge to the

contract containing the arbitration clause” does the Court move to the second step

and consider substantive challenges to the contract or the arbitration clause.1



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 In her response to Defendant’s Motion to Dismiss, Plaintiff also challenged the
purported arbitration agreement as procedurally and substantively unconscionable.
(See Resp. to Mot. to Dismiss, at 15.) However, because Luminess failed to prove
the existence of an enforceable agreement, the Court did not reach this challenge.

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Solymar Investments, Ltd. v. Banco Santander S.A., 672 F.3d 981, 990 (11th Cir.

2012). When deciding whether the parties agreed to arbitration, courts generally

should apply state law principles of contract formation. First Options of Chicago,

Inc. v. Kaplan, 514 U.S. 938, 944 (1995); Bazemore v. Jefferson Capital Sys., LLC,

827 F.3d 1325, 1329 (11th Cir. 2016).

      Under Georgia law, to form a contract “there must be parties able to

contract, a consideration moving to the contract, the assent of the parties to the

terms of the contract, and a subject matter upon which the contract can operate.”

Bazemore, 827 F.3d at 1330 (quoting GA. CODE ANN. § 13-3-1). For contract

purposes, assent requires (a) a meeting of the minds (b) on the essential terms of

the contract. Id. Furthermore, the party asserting the existence of a contract has the

burden of proving its existence and its terms by a preponderance of the evidence.

Id.

      Here, it was exactly this burden that Luminess failed to meet. In its argument

that a contract was formed, Luminess relied primarily on three assertions: (1) that

Plaintiff was noticed of the existence of terms and conditions by an infomercial;

(2) that Plaintiff was noticed of the existence of terms and conditions by a recorded

phone message; and (3) that Plaintiff was noticed of the existence of additional

terms and conditions by the packing list included with her shipments. These

arguments, if true, would suggest that Plaintiff assented to the arbitration clause.



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However, as the Court recognized, “neither the quality nor the quantum of

evidence” provided to support these arguments was sufficient to prove the contract

by a preponderance of the evidence. (Order, at 19.)

      First, with regard to the infomercial, Defendant relied only on the fact that

Plaintiff called Luminess as a result of “her seeing a television infomercial” that

allegedly advised viewers of the existence of additional terms, viewable on the

Luminess website. (See Mehta Decl. ¶ 3.) As the Court correctly recognized, this

level of evidence is insufficient to establish assent. Crucially, Defendant did not

provide the Court with a copy or transcript of the infomercial. This means that

Defendant failed to show the extent of notice that the infomercial contained, let

alone whether Plaintiff watched the portion of the infomercial containing the

notice.

      Likewise, Defendant’s evidence of the recorded phone message is similarly

deficient. Once again, to suggest that Plaintiff was aware of the terms and

conditions, Luminess provided the statement that “the caller receives a recorded

message which also directs consumers to the Terms and Conditions on the public

webpage.” (Mehta Decl. ¶ 7.) Luminess did not provide the Court with a copy or

transcript of this recorded message, which denied the Court an opportunity to




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assess whether it is effective to notify customers of the terms.2

      Further, even taking as true that the infomercial and phone messages advised

that additional terms found on the website would apply, neither message informed

would-be purchasers of the arbitration clause, and Luminess did not require

purchasers to view the terms of conditions before ordering its products. That is,

unlike a “clickwrap” agreement that requires consumers to affirmatively agree to

terms and conditions, Defendant only makes reference—the extent of which has

not been provided to the court—to terms and conditions in a remote location.

While purchasers like Plaintiff move from point A to point B, or from the

infomercial to a phone call, Defendant’s terms and conditions are only available at

point C: the website. The Court did not err in concluding that such passing

references to the existence of terms was insufficient to prove a contract, especially

when Defendant’s own failure to provide evidence prevented the Court from

assessing the extent of the references.

      Finally, Defendant leaned on the packing lists included with shipments sent

to Plaintiff. Unlike the infomercial and phone messages, Luminess provided a copy

of the packing list to the Court to review. However, the packing list failed to


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  In her declaration, Plaintiff did not dispute the existence of this recorded
message, but she stated that she does not recall being instructed to visit the
website. (Ruthrauff Decl. ¶¶ 2–4.) This further supports the insufficiency of
Defendant’s notice in light of Luminess’ failure to provide the message and allow
the Court to find otherwise.

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demonstrate assent for two reasons: (1) reference to the full terms and conditions

appears in one line at the bottom of a full page of terms, in a “small typeface that is

difficult to read, especially where it is not otherwise prominently set off from the

sea of other fine print”; and (2) the packing list sent with the goods is “too little too

late since mutual assent is a condition precedent to the formation of a binding

contract.” (Order, at 18–19) (emphasis in original); see also LSQ Funding Grp.,

L.C. v. EDS Field Servs., 879 F. Supp. 2d 1320, 1326–27 (M.D. Fla. 2012)

(“Mutual assent is an absolute condition precedent to the formation of a contract

and without mutual assent, neither the contract nor any of its provisions come into

existence.”) (internal quotations omitted). The only documentary evidence of

notice that Defendant provided is insufficient to demonstrate mutual assent and

therefore insufficient to prove the existence of a contract.

      In its Motion to Reconsider, Defendant disputes the classification of mutual

assent as a condition precedent. (Mot. to Recons., at 7.) Luminess suggests that

assent to any terms can be evidenced by the acceptance of goods, citing to the

recent decision in Dye v. Tamko Building Products, Inc., 908 F.3d 675 (11th Cir.

2018). Fresh as the Dye decision may be, it is factually distinguishable from the

case at hand due to the extent of notice employed. Indeed, Defendant conveniently

excludes from its citation the notice provided in Dye:

      [I]n the quintessential belt-and-suspenders move—Tamko has
      emblazoned its entire purchase-agreement (complete with terms,

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      warnings, and the all-important arbitration clause) in haec verba on the
      outside of every package of shingles. No hidden terms—no buried
      treasure.

Dye, 908 F.3d at 682. While a purchaser of Tamko shingles would necessarily

receive all the contract terms and the arbitration clause before even using the

product, Luminess did not, at any point, present the terms and conditions in full to

Plaintiff, before or after she received her products. The arbitration clause at hand

was buried (and certainly not treasure). The term wasn’t mentioned in the

infomercial or the phone message, and even the packing list, which provided

several terms directly to consumers, omitted the arbitration clause. Instead, the

term was hidden away on a website that Plaintiff had no need to visit before

placing her order. While it may be unreasonable for a vendor to “narrate the terms

of purchase”3 or “read legal documents to customers,”4 it’s certainly not

impractical to actually give the terms to customers, rather than burying them away

from view and asking purchasers to dig for the terms themselves.

      Luminess failed to show that these remote references were sufficient to

apprise consumers like Plaintiff of the terms and conditions, and thus Luminess

failed to demonstrate Plaintiff’s assent to the terms, including the arbitration



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  Dye, 908 F.3d at 683 (citing Hill v. Gateway 2000, 105 F.3d 1147, 1149 (7th Cir.
1997)).
4
  Sherr v. Dell, Inc., No. 05 CV 10097(GBD), 2006 WL 2109436, at *2 (S.D.N.Y.
July 27, 2006) (citing Hill, 105 F.3d at 1149).

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clause. The Court committed no error in concluding that Defendant failed to prove

the existence of a contract by a preponderance of the evidence.

           2. Contract formation is an issue for the Court to decide, and the
              Court decided, based on undisputed facts, that a contract
              containing the arbitration clause was not formed.

        In addition to ruling correctly on the facts, the Court correctly applied a

summary judgment-like standard and denying Defendant’s motion to compel

arbitration. The Court applied appropriate legal standards, and the evidence

presented raised no genuine issue of material fact. Thus, Defendant’s Motion to

Reconsider should be denied.

        As the Court pointed out in its Order, it is “beyond dispute” that contract

formation is an issue for the Court to decide. (Order, at 12); see Granite Rock Co.

v. Int’l Bhd. of Teamsters, 561 U.S. 287, 296 (2010). This standard applies equally

to questions of whether the parties agreed to submit a dispute to arbitration. Id.

(quoting Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 83 (2002)).

        In Bazemore, the Eleventh Circuit held that a “summary judgment-like”

standard is appropriate for determining the existence of an arbitration agreement:

“a district court may conclude as a matter of law that parties did or did not enter

into an arbitration agreement only if ‘there is no genuine dispute as to any material

fact’ concerning the formation of such an agreement.” Bazemore, 827 F.3d at

1333.



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      Because the burden to prove the existence of contract falls on the party

seeking to enforce an arbitration clause, a failure to do so at the summary judgment

stage means that party cannot attempt to prove the contract again: “[E]ntry of

summary judgment is appropriate ‘against a party who fails to make a showing

sufficient to establish the existence of an element to that party’s case, and on which

that party will bear the burden of proof at trial.’” Id. at 1334 (citing Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986)). In essence, and as the Eleventh Circuit

pointedly stated in Bazemore, a party who fails to prove the contract is not

“afforded a second bite at the apple.” Id. at 1333.

      Here, the evidence before the Court was scant, but the material facts were

not disputed. The parties agree that Plaintiff watched the infomercial and

subsequently placed an order for Luminess products on the phone. (See Order, at

3.) Defendant stated that the infomercial and a recorded phone message instructed

consumers to visit the Luminess website for additional terms. (Mehta Decl. ¶¶ 3,

7.) The contents of these messages, however, were never provided to the Court.

Further, Plaintiff stated that she has no recollection of being informed about the

additional terms or the website, and that she was never informed about the

arbitration clause. (Ruthrauff Decl. ¶¶ 3–6.)

      Considering the evidence before it, the Court found that Luminess had failed

to raise a genuine issue of material fact as to whether a contract was formed.



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(Order, at 20.) Defendant submitted testimonial evidence that its infomercial and

phone message contained reference to additional terms, but it failed to provide

either message to the Court. It was unclear to the Court “[w]hy Defendant [chose]

to rely almost entirely on a singular declaration to carry its burden,” and this

reliance proved fatal. (Id. at 19.) Admittedly, the Court found Plaintiff’s evidence

to be “similarly flimsy,” but “the difference is, it is not Plaintiff’s burden to

establish the non-existence of a contract.” (Id.) Thus, taking all the evidence as

true, Defendant had not provided Plaintiff with sufficient notice to manifest assent

to the contract terms, and, in particular, the agreement to arbitrate. Without proof

of assent, Defendant failed to prove the contract by a preponderance of the

evidence, and Defendant therefore failed to survive the summary judgment-like

standard.

      In its Motion for Reconsideration, Defendant argues that the form of this

decision was improper, contending that it should be afforded a second opportunity

to prove the contract at trial. (Mot. to Recons., at 11.) Defendant characterizes

itself as the “moving party” that “fail[ed] to win a summary judgment motion,” but

this is incorrect. (Id.) Though Defendant was the movant with regard to the motion

to compel arbitration, the question of contract formation is distinct. Defendant did

not “fail to win” summary judgment on the contract formation issue—summary

judgment was granted against Luminess. Such is the nature of contract formation



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issues:

      Indeed, entry of summary judgment is appropriate “against a party who
      fails to make a showing sufficient to establish the existence of an
      element essential to that party’s case, and on which that party will bear
      the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317,
      322, 106 S. Ct. 2548, 2552, 91 L. Ed. 2d 265 (1986).

(Order, at 20) (emphasis added). It is Defendant’s burden to prove the contract by a

preponderance of the evidence, and Defendant failed to meet that burden. Thus,

Defendant is “not entitled to ‘a second bite at the apple—an opportunity to prove

the agreement’s existence at trial.’” (Id.) (quoting Bazemore, 827 F.3d at 1333).

      Defendant concludes its Motion for Reconsideration by contending that

there was “clear error of both fact and law in the Corut’s [sic] reliance upon

Bazemore…” (Mot. to Recons., at 16.) This argument is without merit. First,

Defendant plainly admits that “Luminess does not dispute that Bazemore is the law

in the 11th Circuit.” (Id.) Second, the Bazemore case outlined the standard for

reviewing whether an agreement to arbitrate was made, and this is precisely the

issue considered by the Court in its Order. Defendant suggests that Bazemore “is

applicable only in limited factual scenarios,” with no explanation other than

pointing out that the Defendant in Bazemore had even less evidence to prove the

contract. (Id. at 16–18.) But Bazemore does bear similarity: the defendant in

Bazemore sought to prove the contract with an affidavit—the affidavit asserted that

an agreement form “would have” been sent to the Plaintiff, but it did not include



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proper documentation or a copy of the agreement. Bazemore, 827 F.3d at 1333.

Similarly, Luminess has provided a declaration stating, in essence, that Plaintiff

would have been notified by the infomercial and the phone messages of the terms

available online, but Luminess has not provided any documents or copies to detail

the notice attempts and their efficacy.

       Though the facts may not be identical, the Court properly applied the

standard identified in Bazemore in the manner outlined by the Eleventh Circuit.

The Court did not err in applying the summary judgment-like standard and denying

Defendant’s Motion to Reconsider.

III.   CONCLUSION

       The Court should not afford Luminess a second bite at the apple. Even if

taken as true, the evidence provided by Defendant was inadequate to prove the

existence of a contract containing the arbitration clause. Likewise, the Court made

no error in applying a summary judgment standard to the issue of contract

formation and denying Luminess’ Motion to Compel Arbitration. The Court’s

Order was correct in substance and in form, and accordingly, Defendant’s Motion

to Reconsider should be denied.

                                          Respectfully submitted,




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Dated: January 17, 2019            CYNTHIA RUTHRAUFF, individually
                                   and on behalf of all others similarly situated,


                                   By: /s/     Patrick H. Peluso
                                          One of Plaintiff’s Attorneys

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                          CERTIFICATE OF SERVICE

       I, Patrick H. Peluso, an attorney, hereby certify that on January 17, 2019, I
caused the above and foregoing papers to be served on all counsel of record by
filing such papers with the Court using the Court’s electronic filing system.



                                    /s/ Patrick H. Peluso




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